Case 1:21-cv-20039-RNS Document 23 Entered on FLSD Docket 04/21/2021 Page 1 of 4




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             Joe M orford                                                              s.n.ofrFLA..MIAvl
               Plaintiff

                                                       CivilA ction N o.      1:21-c:,-20039

            M aurizio Cattelan
                Defendant

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   STA TE OF         California

   CO UN TY O F      Los A ngeles

   PERSON A LLY cam e and appeared before m e, the undersigned N otary, the within
   nam ed               Joe M orford              ,w ho is a resident of Los A ngeles       County,
   State of         C alifornia            , and m akes this his/her statem ent and GeneralA ftidavit
   upon oath and affirm ation ofbeliefand personalknow ledge thatthe tbllow ing m atters,facts and
   things setforth are true and correctto the bestofhis/herknourledge:

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   used for com putation are New Y ork Tim es,W allStreetJournaland Public Broadcasting
   Service. The relevantinform ation isattached to thisaffidavitasSksum Certain Sources''
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   CivilAction No.    1:21-cv-20039


   1,Joe Morford,cedify thatIhave senta true and correctcopy ofthis motion forentry to
   the following pady via U.S.Mail,postage prepaid and addressed as follow s:

   M aurizio Cattelan
   263 9tbAve.,#9C,
   New York,NY 10001



   Signature:                                     Date:      04/20/2021
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